 Case 1:03-cr-00034-PLM           ECF No. 62, PageID.85          Filed 04/28/08     Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
                                  _____________________

UNITED STATES OF AMERICA,
                                                             Case No. 1:03-CR-34-01
               Plaintiff,

v.                                                           Hon. Richard Alan Enslen

CHRISTOPHER GRAYLAND BOOSE,
                                                             ORDER
            Defendant.
_________________________________/

       Defendant Christopher Grayland Boose, by letter motion, has requested reconsideration of

the Court’s March 31, 2008 Order denying his earlier letter motion to amend his pre-sentence

investigation report long after his July 29, 2003 sentencing hearing.

       Pursuant to Western District of Michigan Local Criminal Rule 47.3(a), reconsideration is

appropriate only when the movant “demonstrate[s] a palpable defect by which the Court and the

parties have been mislead . . . [and] that a different disposition must result from the correction

thereof.” Defendant’s letter motion fails to meet this standard as well as the standards for relief

under Federal Rule of Civil Procedure 60. The motion is also untimely given the seven-day deadline

set forth in Federal Rule of Criminal Procedure 35(a).

       THEREFORE, IT IS HEREBY ORDERED that Defendant Christopher Grayland Boose’s

Motion for Reconsideration (Dkt. No. 61) is DENIED.

                                              /s/ Richard Alan Enslen
DATED in Kalamazoo, MI:                       RICHARD ALAN ENSLEN
    April 28, 2008                            SENIOR UNITED STATES DISTRICT JUDGE
